     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 1 of 35
             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                     UNITED STATES DISTRICT COURT
2                    NORTHERN DISTRICT OF CALIFORNIA
3                         SAN FRANCISCO DIVISION
4
     WAYMO LLC,
5
                         Plaintiff,
6                                                   Case
     vs.                                            No. 3:17-cv-00939-WHA
7
     UBER TECHNOLOGIES, INC.;
8    OTTOMOTTO LLC; OTTO TRUCKING LLC,
9                       Defendants,
                                                     /
10
11
12
13
14
15           HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY
16               VIDEOTAPED DEPOSITION OF JAMES HASLIM
17                         THURSDAY, MAY 4, 2017
18
19
20
21
22   Reported by:
23   Anrae Wimberley
24   CSR No. 7778
25   Job No. 2610396

                                                                Page 1

                              Veritext Legal Solutions
                                   866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 2 of 35
             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1        Q.    How often did Mr. Levandowski bring his             11:07:32

2    personal laptop to work with him?                             11:07:35

3        MR. KIM: Objection; form.                                 11:07:35

4        THE WITNESS: I couldn't possibly know.                    11:07:37

5    BY MR. JAFFE:                                                 11:07:37

6        Q.    Every day?                                          11:07:39

7        MR. KIM: Objection; form.                                 11:07:39

8        THE WITNESS: The reason I couldn't possibly know          11:07:42

9    is I don't know whether the laptop he may have carried 11:07:45

10   was his personal laptop or the work laptop.                   11:07:48

11   BY MR. JAFFE:                                                 11:07:48

12       Q.      I see. All right. So let's just talk about        11:07:51

13   the one laptop that you know about.                           11:07:53

14             How often did he bring that laptop to work          11:07:55

15   with him?                                                     11:07:56

16       MR. KIM: Objection; form.                                 11:07:56

17       THE WITNESS: I don't know. I have no idea.                11:08:02

18   BY MR. JAFFE:                                                 11:08:02

19       Q.      You saw him at work with the personal laptop; 11:08:06

20   right?                                                        11:08:06

21       A.      I'm sure I've seen him at work with a laptop. 11:08:10

22       Q.    And that was a regular occurrence; right?           11:08:12

23       MR. KIM: Objection; form.                                 11:08:14

24       THE WITNESS: I hardly paid attention to how often 11:08:18

25   he was carrying a laptop.                                     11:08:20

                                                                Page 41

                              Veritext Legal Solutions
                                   866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 3 of 35
             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1    that Mr. Levandowski was demoting himself in some way. 11:34:26

2              Are you familiar with that?                         11:34:27

 3       A.    I'm familiar with the announcement that his         11:34:31

4    position was changing. I only take issue with your            11:34:37

 5   comment -- or your phrase that says he was demoting           11:34:40

6    himself. I don't know who decided his position should 11:34:45

 7   change.                                                       11:34:45

8        Q.    I see.                                              11:34:45

9              So you don't know who actually decided that         11:34:49

10   his position should change?                                   11:34:51

11       A.    Correct.                                            11:34:51

12       Q.    And do you take issue with the idea that he         11:34:54

13   was demoted in some way?                                      11:34:56

14       A.    Not necessarily.                                    11:34:58

15       Q.    Okay. So if I call it his demotion, that's a 11:35:03

16   fair statement?                                               11:35:03

17       A.    I won't argue with that.                            11:35:05

18       Q.    So how did you find out about                       11:35:09

19   Mr. Levandowski's demotion?                                   11:35:12

20       A.    I received an e-mail. I believe the whole           11:35:16

21   company received an e-mail describing that change.            11:35:21

22             I want to say Anthony sent the e-mail, but          11:35:25

23   I'm not 100 percent positive on that.                         11:35:28

24




                                                                Page 54

                              Veritext Legal Solutions
                                   866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 4 of 35
             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

 1                                                                 11:35:38

2                                                                  11:35:43

 3                                                                 11:35:46

4

1        •
I

I

1
I




                                                                   11:36:13

13   BY MR. JAFFE:                                                 11:36:13

14       Q.    Before that e-mail on Thursday, there was no        11:36:18

15   sort of company policy excluding Mr. Levandowski from         11:36:23

16   providing input onto LiDAR; right?                            11:36:27

17       MR. KIM:    Objection; form.                              11:36:27

18       THE WITNESS:    I'm not aware of any policy before        11:36:31

19   that date regarding excluding him from any aspect of          11:36:35

20   any work at the company.                                      11:36:36

21   BY MR. JAFFE:                                                 11:36:36

22       Q.    Including LiDAR?                                    11:36:41

23       A,    Including LiDAR,                                    11:36:41

24       Q.    So you never received any sort of special           11:36:45

25   instructions about what you could and couldn't do             11:36:47

                                                                Page 55

                              Veritext Legal Solutions
                                   866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 5 of 35
             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1        Q.      Who came up with                                  11:57:45

2    for Fuji?                                                     11:57:46

3        A.      I would say that was a decision reached by me 11:57:56

4    with collaboration with my electrical engineer Florin         11:58:00

5    Ignatescu.                                                    11:58:02

6        Q.    Anyone else?                                        11:58:07

7        A.      I believe the discussion of the                   11:58:13

8    also involved Gaetan as it pertains to the performance 11:58:20

9    of his lens and how it would work with                        11:58:25

10   I'm sure we informed other people. Scott may have             11:58:34

11   been in the office when we were making this decision          11:58:36

12   as well. Dan Gruver would probably be informed as             11:58:41

13   well, but I don't recall Dan playing any role in that         11:58:45

14   decision.                                                     11:58:45

15       Q.      Who was involved in coming up with

                                                                   11:58:50

17       MR. KIM: Objection; form.                                 11:58:53

18       THE WITNESS: In coming up with                    I       11:58:57

19   would say that was primarily me and the electrical            11:59:00

20   engineer, Florin.                                             11:59:02

21   BY MR. JAFFE:

22       Q.    And then you discussed it with the LiDAR            11:59:05

23   team?                                                         11:59:07

24       MR. KIM: Objection; form.                                 11:59:09

25       THE WITNESS: Yes.                                         11:59:09

                                                                Page 72

                              Veritext Legal Solutions
                                   866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 6 of 35
             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1        Q.    Are you aware of any conversations between          12:00:17

2    Mr. Gruver or Mr. Pennecot and Mr. Levandowski                12:00:20

3    regarding the number of transmit boards in the Fuji           12:00:24

4    design?                                                       12:00:24

5        MR. KIM:    Objection; form.                              12:00:26

6        THE WITNESS:    I am not aware.                           12:00:28

7    BY MR. JAFFE:                                                 12:00:28

8        Q.    So it's possible that they have discussed           12:00:29

9    this issue with them, you wouldn't know that; right?          12:00:32

10       A.    I wouldn't know that.                               12:00:34

11       Q.    So you're not saying that Mr. Levandowski has       12:00:36

12   never had discussions or input into the idea to use           12:00:40

13                        ; right?                                 12:00:43

14       MR. KIM:    Objection; form.                              12:00:46

15       THE WITNESS:    What I am saying is that Anthony          12:00:48

16   never had input into my decision with my electrical           12:00:55

17   engineer to put                                .              12:01:00

18   BY MR. JAFFE:                                                 12:01:00

19       Q.    Right.                                              12:01:00

20             But you talked about that decision with             12:01:02

21   Mr. Gruver, for example; right?                               12:01:03

22       A.    I think discussions with Gruver came later,         12:01:07

23   yeah.                                                         12:01:07

24       Q.    Or Mr. Pennecot, for example?                       12:01:10

25       A.    Mr. Pennecot was probably consulted in that         12:01:13

                                                                Page 74

                              Veritext Legal Solutions
                                   866 299-5127
       Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 7 of 35
               HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

 1         A.    Yes.                                                      12:03:36

 2                 We knew we needed a laser circuit, so I had             12:03:40

 3     Florin design multiple laser circuits onto a board for              12:03:45

 4     test and evaluation.     We picked one of those circuits            12:03:48

 5     that we thought performed the best.         He began                12:03:51

 6     considering the size of his circuit in one of those --              12:03:56

 7     I believe it was 10 different circuits.             The one we      12:03:59

 8     chose, he could look at the design of it and tell me                12:04:02

 9     the size.                                                           12:04:04

10               So at this point, as I recall, Gaetan did not             12:04:10

11     have a laser board design in his CAD model.            He had a     12:04:20

12     lens design.     He may have had -- I even doubt he had             12:04:26

13     taken that into CAD yet.                                            12:04:29

14         Q.    So I'm a little bit confused.                             12:04:32

15                 Where did the idea to have                    come      12:04:34

16     from?                                                               12:04:35

17 1       ■

II                                                           The need to   12:04:49

19                                developed quickly between                12:04:56

20     Florin and I looking at the size of the circuit,                    12:04:59

21     knowing when Scott Boehmke defines a certain

                                               when Gaetan has             12:05:08

23     designed a lens that has a 150 millimeter focal                     12:05:13

24     length, it becomes apparent that the

                                                                           12:05:19

                                                                         Page 77

                                Veritext Legal Solutions
                                     866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 8 of 35
             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1

                                                                      12:05:24

3               It was obvious to me that wasn't going to             12:05:26

4    work and we would have to

                Later we went back and looked closer, and I           12:05:33

6    realized, wait a minute,

              So we can't put circuits on



                                                                      12:05:47

10              Furthermore, we were starting to look at              12:05:50

11   components on the receiver. We saw components on the             12:05:53

12   receiver that were themselves                                    12:05:58

13   Those were high voltage components. They needed                  12:06:00

14   additional space between them as well. So it seemed              12:06:01

15   pretty clear at the time                                was not 12:06:05

16   going to work, so we said                           ? Florin     12:06:09

17   thought he could                                                 12:06:14

18             So that ended up with

                We already had decided two cavities to make           12:06:20

20   64 channels, so that ended up with                               12:06:24

21   in the sensor.                                                   12:06:25

22       Q.     Where are the documents that reflect the              12:06:27

23   discussions that you were just talking about?                    12:06:31

24       A.     We did not document our discussions.                  12:06:33

25       Q.    Okay. So there are no -- there's no                    12:06:35

                                                                    Page 78

                              Veritext Legal Solutions
                                   866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 9 of 35
             HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1    documentary evidence to evidence -- to support what                12:06:39

2    you just said?                                                     12:06:40

3          MR. KIM: Objection; form.                                    12:06:42

4    BY MR. JAFFE:                                                      12:06:42

5          Q.    Is that fair?                                          12:06:42

6          A.    Not quite.                                             12:06:43

7                We have documents showing and indicating to            12:06:47

8    us what the vertical angles were to be for the sensor              12:06:52

9    as specified by Scott Boehmke. We have a lens design               12:06:57

10   that's documented from Gaetan. We have the original                12:07:03

11   circuit Florin had developed for testing out lasers.               12:07:10

12              At that point, the documentation stopped.               12:07:14

13   And we don't have documents for discussions describing 12:07:22

14   how

                                                                        12:07:27

16         Q.   Okay. So I just want to run through that                12:07:30

17   real quick.                                                        12:07:30

18              So you're saying that you got the idea for              12:07:34

19                 based on three things. One is the

                of the diodes that you wanted. Two is the               12:07:43

21                               And three is the

                                                                        12:07:49

23              Generally, is that fair?                                12:07:53

24         A.    I'd like you to add a fourth, which is the             12:07:56

25                                                   and possibly a     12:08:04

                                                                      Page 79

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 10 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1

                                                                    14:00:49

3         A.    I'm sorry.   I don't think I was clear before.      14:00:53

4               When Gaetan designed the outline of this            14:00:56

5     board and specified




                                                                    14:01:17

11        Q.   So the original idea was

                                                                    14:01:22

13        A.   No.                                                  14:01:22

14        Q.   So then let me ask my question again then.           14:01:25

15              What is the point of including

                   -- in this chart?                                14:01:30

17        A.    This information could have been provided to        14:01:36

18    the electrical engineer so that

                                                                    14:01:43

20    And if he hasn't



                                                                    14:01:55

23        Q.    Why do you think he did that?                       14:01:57

24        A.   He needs to                                that's as 14:02:00

25    good as -- better than an outline of a board which is         14:02:03

                                                                 Page 116

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 11 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1         A.     I see that, yes.                                  14:28:10

2         Q.     The "LiDAR team" right there, that includes       14:28:15

3     Anthony Levandowski; right?                                  14:28:17

4         MR. KIM: Objection; form.                                14:28:17

5         THE WITNESS: I wouldn't have considered him part         14:28:24

6     of the LiDAR team, but clearly he was informed of the        14:28:30

7     decision and we got his buyoff because it affected the 14:28:33

8     program.                                                     14:28:34

9     BY MR. JAFFE:                                                14:28:34

10        Q.     So, again, I'm referring to what's in your        14:28:36

11    declaration. Your declaration says, "The LiDAR team's 14:28:39

12    decision."                                                   14:28:39

13               Is Mr. Levandowski part of the LiDAR team in      14:28:41

14    your declaration or not?                                     14:28:43

15        MR. KIM: Objection; form.                                14:28:46

16        THE WITNESS: No.                                         14:28:46

17    BY MR. JAFFE:                                                14:28:46

18        Q.     So when you said, "The LiDAR team's decision      14:28:51

19    to abandon the project," you're excluding                    14:28:54

20    Mr. Levandowski?                                             14:28:55

21        A.     I am.                                             14:28:56

22        Q.     Even though he had to actually make the           14:28:59

23    decision to pivot?                                           14:29:00

24        A.     I would say the LiDAR team proper made a          14:29:03

25    decision based on technical matters; whereas, Anthony        14:29:06

                                                                Page 133

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 12 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

 1        MR. JAFFE: Which number are we at?                       14:34:23

2         THE REPORTER: I think we're on 156.

3         MR. KIM: How long have you gone on the record?           14:35:02

4         THE REPORTER: We're on 157.

 5        THE VIDEOGRAPHER: Three hours and four minutes.

6         MR. KIM: We've got another hour. If there's a

 7    convenient time for a break.

 8        MR. JAFFE: I'll do this --                               14:35:04

 9        MR. KIM: You can ask your next --

10        MR. JAFFE: -- really quick and then we can take a 14:35:07

11    quick break.                                                 14:35:08

12             (Plaintiff's Exhibit 157 was marked.)               14:35:23

13    BY MR. JAFFE:

14        Q.   I've marked as Exhibit 157 a document with          14:35:26

15    the slip sheet labeled "Exhibit H." And then the             14:35:30

16    document underlying that says,                               14:35:33

17             Is this a document that you were referring to 14:35:36

18    before that Mr. Levandowski, Anthony Levandowski that        14:35:40

19    is, called you about and discussed?                          14:35:41

20        MR. KIM: Objection; form.                                14:35:52

21        THE WITNESS: No, this is not, to my recollection, 14:35:56

22    the same document. There does appear to be some              14:36:00

23    features in here, but for reasons I don't understand,        14:36:03

24    there seems to be pages I'm not familiar with.               14:36:07

25    BY MR. JAFFE:                                                14:36:07

                                                                Page 138

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 13 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

 1        Q.   So you're familiar with some pages of this          14:36:15

2     document, but not others; is that fair?                      14:36:18

3         A.    I think so, yeah.                                  14:36:19

4         Q.   Let's go to page 10.                                14:36:20

 5        A.   Okay.                                               14:36:22

6         Q.   And, actually, before we get there, going           14:36:30

 7    back to the first page, it's dated May 16th, 2016.           14:36:33

 8             You worked at Otto at that time; right?             14:36:36

 9        A.   I believe I did, yes.                               14:36:38

10        Q.   And you had had conversations with                  14:36:39

11    Mr. Boehmke by that time?                                    14:36:41

12        A.   Probably not.                                       14:36:43

13        Q.   Okay. But were you aware of Uber and Otto           14:36:46

14    having conversations at that time?                           14:36:50

15        A.    I don't think so.                                  14:36:51

16        Q.   So you weren't aware of the conversations, to 14:36:55

17    the extent that they were happening, between Uber and        14:36:58

18    Otto?                                                        14:36:59

19        A.   I don't recall if I had become aware of Uber        14:37:04

20    and Otto discussions at this early date in May.              14:37:07

21        Q.   So if you look at page 14.                          14:37:28

22        A.   Okay.                                               14:37:34

23        Q.   You see it says,                                    14:37:35

24        A.   Yes.                                                14:37:36

25        Q.   Does this refresh your recollection that Uber 14:37:39

                                                                Page 139

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 14 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1         A.    Right.                                             14:41:44

2         Q.   So to your knowledge, what's described here         14:41:48

3     as Plan B isn't the basis for the Fuji design?               14:41:52

4         MR. KIM: Objection; form.                                14:41:55

5         THE WITNESS: I am not aware of a link between            14:41:59

6     this Plan B in this document and the Fuji design.            14:42:04

7     BY MR. JAFFE:                                                14:42:04

8         Q.   And you would be in a position to know;             14:42:08

9     right?                                                       14:42:09

10        MR. KIM: Objection; form.                                14:42:11

11        THE WITNESS: I would have to make that                   14:42:13

12    presumption. And it's just a presumption.                    14:42:15

13    BY MR. JAFFE:                                                14:42:15

14        Q.      In your job, you would be in a position to       14:42:18

15    know that; right?                                            14:42:18

16        MR. KIM: Objection; form.                                14:42:25

17        THE WITNESS: I would expect to know that.                14:42:26

18        MR. JAFFE: Let's take a break.                           14:42:32

19        THE VIDEOGRAPHER: We are off the record at 2:42          14:42:36

20    p.m.                                                         14:42:36

21                (Recess taken.)                                  14:42:36

22        THE VIDEOGRAPHER: We are back on the record at           14:55:55

23    2:56 p.m.                                                    14:55:57

24    BY MR. JAFFE:                                                14:55:57

25        Q.   Have you discussed the subject matter of your 14:56:03

                                                                Page 143

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 15 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1     testimony during any of the breaks today?                    14:56:05

2         A.   Nothing in terms of like what we said in this 14:56:10

3     testimony.                                                   14:56:11

4         Q.    What does that mean?                               14:56:13

5         A.    That means the legal team may have advised me 14:56:19

6     on procedural matters, general terms without                 14:56:23

7     referencing the actual content of our discussion.            14:56:26

8         Q.    What did they tell you?                            14:56:27

9         MR. KIM: Objection.                                      14:56:27

10             Going to instruct you not to answer on the          14:56:31

11    grounds of attorney-client privilege.                        14:56:33

12    BY MR. JAFFE:                                                14:56:33

13        Q.   Did your legal team tell you how to testify         14:56:36

14    after these meetings?                                        14:56:37

15        MR. KIM: You can answer that yes or no.                  14:56:39

16        THE WITNESS: Could you be clear by what you mean         14:56:41

17    by "how to testify"?                                         14:56:42

18    BY MR. JAFFE:

19        Q.    I don't think I can be any clearer.                14:56:46

20        A.   Like what to say?                                   14:56:47

21        Q.    I'm trying to understand what the legal team       14:56:51

22    told you in terms of general terms, procedural               14:56:55

23    matters, which is what you said.                             14:56:57

24              What did they tell you?                            14:56:58

25        MR. KIM: Instruct you not to reveal any                  14:57:00

                                                                Page 144

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 16 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1     privileged conversations.                                    14:57:11

2           THE WITNESS: Are you instructing me not to             14:57:13

3     answer?                                                      14:57:14

4           MR. KIM: You can answer his prior question yes or 14:57:17

5     no.                                                          14:57:17

6           THE WITNESS: If your question is, did they tell        14:57:24

7     me what to say, no. Did they tell me how to testify,         14:57:28

8     no.                                                          14:57:29

9     BY MR. JAFFE:                                                14:57:29

10          Q.   When you said that they told you things about 14:57:31

11    general things and procedural considerations, what           14:57:34

12    general things did they tell you?                            14:57:37

13          MR. KIM: I'm going to instruct you not to answer       14:57:39

14    on the grounds of attorney-client privilege.                 14:57:40

15    BY MR. JAFFE:                                                14:57:40

16          Q.   What procedural -- what general terms about       14:57:42

17    your testimony did they tell you?                            14:57:45

18          A.   Let's see. We discussed how much time is          14:57:52

19    left, something called redirect.                             14:57:59

20          Q.   What did they talk to you about redirect?         14:58:01

21          MR. KIM: And I'm going to instruct you not to          14:58:05

22    reveal any attorney-client privileged conversations.         14:58:09

23    And I don't think you can answer that without doing          14:58:11

24    so. I'm going to instruct you not to answer.                 14:58:14

25    BY MR. JAFFE:                                                14:58:14

                                                                Page 145

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 17 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1           Q.   You talked about redirect on a break? Yes or 14:58:21

2     no?                                                          14:58:21

3           A.   Yes, we talked about the term "redirect."         14:58:24

4           Q.   And what did you talk about redirect?             14:58:28

5           A.   That is a situation where, instead of you,        14:58:33

6     the lawyer on my side of the table is going to ask me        14:58:36

7     questions.                                                   14:58:36

8           Q.   And how did redirect come up in the context       14:58:39

9     of your conversation?                                        14:58:40

10          A.   In the context of time remaining and that         14:58:45

11    redirect would occur after your allotted time has            14:58:49

12    ended, so it's going to take longer than I might             14:58:54

13    think.                                                       14:58:54

14          Q.   Did Uber's lawyers tell you that they were        14:58:58

15    going to do redirect questions?                              14:59:00

16          A.   Yes.                                              14:59:02

17          Q.   And did they tell you what those questions        14:59:04

18    were going to be about?                                      14:59:06

19          A.   No.                                               14:59:07

20          Q.   Did you talk at all about what sort of            14:59:11

21    redirect would happen?                                       14:59:13

22          A.   No.                                               14:59:16

23          Q.   What did you talk about about redirect?           14:59:19

24          A.   That they will ask me questions just like you 14:59:24

25    ask me questions and that it's going to take longer          14:59:27

                                                                Page 146

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 18 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1     than the hour, approximately, that we have remaining,        14:59:30

2     so not to expect it to be over at that time.                 14:59:34

3         Q.    What else, in general terms, did you and your 14:59:36

4     lawyers talk about on the breaks?                            14:59:38

5         MR. KIM: I'm going to advise you not to reveal           14:59:46

6     any attorney-client privileged communications.               14:59:49

7         THE WITNESS: So I'm not a lawyer. I don't know           14:59:55

8     what is considered attorney-client privilege and what        14:59:58

9     wouldn't be in that context of conversations, so I           15:00:01

10    need to be careful not to answer and disclose                15:00:03

11    something I'm not supposed to say.                           15:00:06

12        MR. KIM: Do you need to consult with me about a          15:00:09

13    privilege issue?                                             15:00:09

14        THE WITNESS: Yes, that would help.                       15:00:12

15        MR. KIM: Can we go off the record so he can              15:00:15

16    consult with me on a privilege issue before he answers 15:00:18

17    any further questions about what we discussed?               15:00:20

18        MR. JAFFE: I'll withdraw the question and I'll           15:00:22

19    ask a different question.                                    15:00:23

20    BY MR. JAFFE:                                                15:00:23

21        Q.    Tell me the substance of your private              15:00:26

22    conferences -- private conferences during the break          15:00:28

23    that you had with Uber's lawyers, all of it.                 15:00:32

24        MR. KIM: I'm going to object on the grounds of           15:00:36

25    privilege.                                                   15:00:37

                                                                Page 147

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 19 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1     taking -- and we can do this for more angles if you          15:51:42

2     wish, but it looks like the diodes --                        15:51:43

3                                                                  15:51:48

4                                                                  15:51:56

5         Q.    Could you describe generally how you               15:51:59

6     calculated that or determined that?                          15:52:01

7         A. Yeah. So                                              15:52:05

8                                                                  15:52:10

9                                                                  15:52:16

10                                                                 15:52:22

11                                                                 15:52:25

12    I don't know if you need any more --                         15:52:29

13        Q.    Is there a name for that equation that you         15:52:31

14    just described?                                              15:52:32

15        A.                                                       15:52:36

16                                            or -- yeah.          15:52:41

17        Q.   And then going back to the channel spacing          15:52:45

18    under "delta" --                                             15:52:46

19              Is that the term you used?                         15:52:48

20        A.   Under "delta" -- channel spacing, yes. This         15:52:55

21    is an angular spacing.                                       15:52:57

22        Q.   Does that reflect the accurate channel              15:52:59

23    spacing for the Fuji Board A?                                15:53:02

24        A.    These do appear to be the channel spacing.         15:53:07

25    In terms of accurate, these numbers are already              15:53:11

                                                                Page 181

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 20 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1         A.   Yeah.                                                 16:01:00

2         MR. JAFFE: Objection; leading.                             16:01:03

3     BY MR. KIM:                                                    16:01:03

4         Q.   Have you ever used the term                       ?   16:01:08

5         A.    I'm familiar with the term from mathematics.         16:01:13

6         Q.    What does that term mean to you?                     16:01:17

7         A.    To me, especially in reference to a                  16:01:20

8     mathematical function, the term                     means that 16:01:25

9




                                                                     16:01:53

14        Q.    In your opinion, do -- the channel spacing           16:01:55

15    for Board A for Fuji, do they

                                                                     16:02:07

17        A.    Channel spacing related to the "Delta" column 16:02:10

18    we've labeled?                                                 16:02:11

19        Q.   Yes.                                                  16:02:12

20        A.    To my understanding, that is not                     16:02:30

21        Q.    Why is that?                                         16:02:31

22        A.    I see numbers that start at the "Delta"              16:02:34

23    column, the channel spacing we called it,



                                                                     16:02:49

                                                                  Page 186

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 21 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                                                                   16:02:51

2         Q.     Same question for the distance between             16:02:53

3     diodes.                                                       16:02:54

4                Is that distance

                                     for Fuji?                      16:03:06

6         A.     No.   The linear distance is not




                                                                    16:03:26

10        Q.     Is that also true for the channel spacing for      16:03:32

11    Board     for Fuji?                                           16:03:34

12        MR. JAFFE:    Objection; leading.                         16:03:40

13        THE WITNESS:       I see the same




                                                                    16:04:05

18    BY MR. KIM:

19        Q.     And that's for Board        for Fuji?              16:04:08

20        A.     For Board     on this document, yes.               16:04:10

21        Q.     What about for Board          are the channel      16:04:15

22    spacings                                                      16:04:23

23        A.     No.



                                                                    16:04:36

                                                                 Page 187

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 22 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1         Q.   Um-hum. Let me ask it a different way.               16:13:45

2              Does the




                                                                    16:14:10

6         MR. JAFFE:   Objection; form, leading.                    16:14:14

7         THE WITNESS:    There is a




                                                                    16:14:40

12    BY MR. KIM:                                                   16:14:40

13        Q.   Okay.   And earlier you were asked about the         16:14:47

14    term                       correct?                           16:14:48

15        A.   Yes.                                                 16:14:50

16        Q.   And                         refers to what when      16:14:53

17    you're using the term?                                        16:14:56

18        A.    It depends on the context.        I have to be      16:14:59

19    careful to clarify.




                                                                    16:15:20

24        Q.   And how -- how do you use the term?                  16:15:23

25        A.   Most of the time we've been talking, at Uber,        16:15:31

                                                                 Page 192

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 23 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1         THE WITNESS:     This does not refer to Fuji.       It      16:19:00

2     could not refer to Fuji.       And if you look at the           16:19:08

3     e-mail -- let me find this.        Sorry.                       16:19:14

4               Perhaps Section B discussion -- it sounds to          16:19:22

5     me like this is discussing Spider, where we're talking          16:19:28

6     about groups of eight.      The date would be consistent        16:19:33

7     with what we ultimately called Spider.                          16:19:41

8     BY MR. KIM:                                                     16:19:41

9         Q.    Okay.   So looking at UBER00008499, you               16:19:50

10    believe that what's described in A there that you were          16:19:53

11    asked about earlier actually refers to Spider and not           16:19:56

12    Fuji?                                                           16:19:58

13        A.     That's what it seems like to me, yes.                16:20:01

14        Q.     I would like to go back to your Exhibit B            16:20:11

15    from your original declaration.                                 16:20:14

16              Do you see that column with the heading               16:20:32

17

18        A.     Yes.   There's two.                                  16:20:36

19        Q.    Okay.   Let's look at the leftmost column.            16:20:42

20        A.     Yes.                                                 16:20:43

21        Q.    Are

               on Fuji boards?                                        16:20:49

23        MR. JAFFE:    Objection; form and leading.                  16:20:52

24        THE WITNESS:    No.    As I understand it, the              16:20:55

25                                                                    16:21:01

                                                                   Page 195

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 24 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                                                                  16:21:04

2     BY MR. KIM:                                                  16:21:04

3           Q.   Do you have an understanding as to why there      16:21:07

4     are                listed there?                             16:21:09

5           A.   Yeah.   As I was discussing earlier, my           16:21:17

6     understanding is these coordinates referencing the           16:21:22

7                  were generated early in the development of      16:21:29

8     Fuji when                                                    16:21:33

9     More specifically, these coordinates were given to the       16:21:37

10    electrical engineer before the electrical engineer had       16:21:39

11    laid out the circuits onto the board and added the           16:21:42

12    fiducial mark onto the board.                                16:21:45

13          Q.   Are there any plans at Uber to use

                                     on any transmit boards for    16:22:07

15    Fuji?                                                        16:22:08

16          A.   Not that I'm aware of.                            16:22:11

17          Q.   Okay.    You can set that one aside.              16:22:28

18               Actually, a couple follow-up questions on         16:22:46

19    Exhibit 155.                                                 16:22:48

20                I believe you were asked when this document      16:22:52

21    was created -- let me just ask it.                           16:22:56

22               Do you know when this document was created?       16:22:58

23          MR. JAFFE:   Objection; form.                          16:23:01

24          THE WITNESS:    Which version are you referring to?    16:23:03

25    BY MR. KIM:                                                  16:23:03

                                                                Page 196

                                Veritext Legal Solutions
                                     866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 25 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1     Scott Boehmke --                                             16:24:46

2         MR. JAFFE: Objection; leading, outside the scope. 16:24:51

3     BY MR. KIM:                                                  16:24:51

4         Q.      -- that you discussed in paragraph 18 of your 16:24:55

5     original declaration?                                        16:24:57

6         MR. JAFFE: Objection; outside the scope, improper 16:25:00

7     redirect.                                                    16:25:01

8         THE WITNESS: 155? 151?                                   16:25:20

9     BY MR. KIM:

10        Q.      It's either 151 or 152.     It's 151.            16:25:26

11                (Witness reviews documents.)                     16:25:58

12        A.   Do you have a paragraph?                            16:25:59

13        Q.   Paragraph 18.                                       16:26:00

14        A.    Thank you. Okay. Okay. 18.                         16:26:08

15                (Witness reviews document.)                      16:26:19

16        A.   Okay.                                               16:26:20

17        Q.   And for the record, earlier today you were          16:26:22

18    asked about this paragraph.                                  16:26:25

19             Do you recall that?                                 16:26:26

20        A.   Yes.                                                16:26:26

21        MR. JAFFE: Objection; leading.                           16:26:29

22    BY MR. KIM:                                                  16:26:29

23        Q.   And you were asked about whether there was          16:26:33

24    any evidence that the information you received from          16:26:38

25    Scott Boehmke referred to in this paragraph was              16:26:41

                                                                Page 198

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 26 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1     actually used in Fuji, and you referred to CAD files.        16:26:45

2               What did you -- what CAD files are you             16:26:47

3     referring to?                                                16:26:47

4         MR. JAFFE: Objection; form and leading.                  16:26:51

5         THE WITNESS: I was referring --                          16:26:52

6         MR. JAFFE: Beyond the scope.                             16:26:55

7         THE WITNESS: I was referring to mechanical CAD           16:26:58

8     files in the SolidWorks software created by Gaetan           16:27:05

9     that have the angles specified by Scott Boehmke that         16:27:14

10    end up terminating in a set of points for each laser         16:27:20

11    diode emitting point.                                        16:27:24

12             He then also included a CAD model of the            16:27:29

13    laser board outline that he developed that also had          16:27:33

14    those same emitting points on there. And then,               16:27:41

15    finally, you can see the theta angle matches the             16:27:46

16    prescribed angles that we got from Scott.                    16:27:50

17    BY MR. KIM:                                                  16:27:50

18        Q.    Can you explain step by step the process from 16:27:54

19    going from the angles that you received from Scott --        16:27:57

20        A. Okay.

21        Q.    -- to what ultimately ended up being the           16:28:02

22    diode placement angles reflected in Exhibit B of your        16:28:08

23    original declaration and marked as Exhibit 155 for           16:28:11

24    your deposition?                                             16:28:13

25        MR. JAFFE: Objection; form, leading. This is             16:28:15

                                                                Page 199

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 27 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1     improper redirect, outside the scope. We're just             16:28:20

2     going to object to all this evidence; I think I've           16:28:24

3     made that clear.                                             16:28:25

4         THE WITNESS: My understanding of the process that 16:28:28

5     led to the coordinates we have in Exhibit 155,               16:28:32

6     starting with angles that Scott Boehmke provided, was        16:28:36

7     that Gaetan designed a lens in Zemax. We had decided         16:28:44

8     on 150 millimeter focal length, chosen material for          16:28:49

9     the lens.                                                    16:28:50

10                From the lens optimization provided by the       16:28:52

11    Zemax software, we had the focal length behind the           16:28:59

12    lens to the beginning of a focal surface. And he had         16:29:05

13    a radius of curvature for the focal surface.                 16:29:10

14                From that information in Zemax, you can take     16:29:14

15    that into SolidWorks software, model up a curved             16:29:19

16    surface with the same radius of curvature as the focal 16:29:23

17    surface defined by Zemax. That could be -- he modeled 16:29:30

18    that at a location behind the lens with a consistent         16:29:36

19    focal length developed in Zemax.                             16:29:41

20             He then, as I understand it, created lines or 16:29:48

21    rays in the CAD geometry that reflected the vertical         16:29:52

22    angles specified by Scott Boehmke, one by one,               16:29:57

23    individually, for the       different beam angles for the 16:30:01

24            boards in the mid-range cavity.                      16:30:05

25             He extended those lines or rays until it            16:30:10

                                                                Page 200

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 28 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1     intersected this curved focal surface.          The point of        16:30:17

2     intersection defined the location for the laser diodes              16:30:23

3     emitting surface.    He then put that into his model,               16:30:30

4     modeled a PCB behind that.                                          16:30:33

5                 In this case specifically, he had                       16:30:40

6     So he had                            where rays would               16:30:48

7     intersect a -- I guess you would call this a                        16:30:54

8     two-dimensional flat, curved focal surface.                         16:30:57

9                 From that, he had designed this laser board             16:31:06

10    mechanical outline relative to that outline and                     16:31:10

11    relative to the mounting features that were included                16:31:13

12    in that design, including                           .   He had      16:31:16

13    locations for laser diodes on that board.                           16:31:21

14                Individually, those models of the Laser                 16:31:28

15    Boards               were sent to the electrical                    16:31:32

16    engineer, Will Treichler, who then proceeded to lay                 16:31:38

17    out the circuit behind each of the laser diodes.                    16:31:41

18    BY MR. KIM:

19        Q.   And earlier I believe you mentioned Florin.                16:31:49

20                What was Florin's role in all this?                     16:31:52

21        A.      Florin is another electrical engineer.          He      16:31:55

22    used to work at Velodyne.     I consider him a senior               16:32:00

23    electrical engineer.    So I asked him to design some               16:32:02

24    candidate laser pulsing circuits.        He designed that           16:32:09

25    test board.    And the circuits on there, he tested the             16:32:15

                                                                       Page 201

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 29 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1                Go ahead.                                              17:21:07

2     BY MR. KIM:                                                       17:21:07

3         Q.     Are the current beam angles for                        17:21:11

4     reflected in Exhibit 155 that we were looking at                  17:21:14

5     earlier?                                                          17:21:15

6         A.     Yes.                                                   17:21:27

7         Q.     Okay.                                                  17:21:34

8         A.     Let me double check.       Hold on.        Sorry.      17:21:37

9                (Witness performs calculation.)

10        A.     Okay.   Yes.   Angles in Exhibit 155 do appear         17:22:07

11    to be the accurate angles that we designed the Fuji to            17:22:12

12    and -- and started building Fuji to.                              17:22:15

13        Q.     Earlier you were asked about whether or not            17:22:23

14    Mr. Levandowski had input into the Fuji design.                   17:22:30

15               Did Mr. Levandowski have any technical input           17:22:34

16    for the Fuji design?                                              17:22:36

17        MR. JAFFE:     Objection; form, leading.                      17:22:38

18        THE WITNESS:       To my recollection, the only               17:22:44

19    potentially technical input Anthony Levandowski had on            17:22:49

20    the Fuji design were telling us to make it as good as             17:22:55

21    the Velodyne or better.      To under-regard any concerns         17:23:03

22    given to us from people in Pittsburgh regarding size              17:23:06

23    and weight, that that should not be a prioritized                 17:23:09

24    requirement.                                                      17:23:10

25    BY MR. KIM:

                                                                     Page 221

                                 Veritext Legal Solutions
                                      866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 30 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1         Q.   At the very beginning of your deposition you        17:23:19

2     were asked about whether you had communications with         17:23:22

3     Mr. Levandowski while you were at Tyto.                      17:23:23

4              Do you remember that?                               17:23:26

5         A. Vaguely.                                              17:23:27

6         Q.    When you were asked whether or not he gave         17:23:32

7     you any confidential information, you said you thought 17:23:36

8     it was general information. What did you mean by             17:23:39

9     that?                                                        17:23:40

10        A.    I believe information Anthony provided             17:23:50

11    regarding a                                         was      17:23:57

12    information that I've seen other places on the               17:24:02

13    Internet as white papers, as publicly-available              17:24:07

14    information in terms of architect or configuration for 17:24:11

15    a laser. I felt recommendations for vendors would be         17:24:19

16    information, again, publicly available by doing Google 17:24:23

17    search for components like that.                             17:24:26

18        Q.   And at the very start of your deposition you        17:24:32

19    were asked about 64 channels and the convenience of          17:24:34

20    two. Do you recall that line of questioning?                 17:24:37

21        A.    Wasn't it the power of two.                        17:24:40

22        Q.   Maybe it was the power of two.                      17:24:42

23        A.   Yeah.                                               17:24:43

24        Q.    What was the reason that Fuji had -- or the        17:24:53

25    Fuji design has 64 channels?                                 17:24:57

                                                                Page 222

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 31 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1         Q.    And you signed it without actually checking         17:38:47

2     it was accurate?                                              17:38:49

3         A.    Whoa. I looked at these numbers.                    17:38:52

4         Q.    But you didn't check what you did today             17:38:54

5     before you signed this declaration, did you?                  17:38:59

6         A.    What do you mean? Identifying, double               17:39:02

7     checking the                                                  17:39:04

8         Q.    Yes.                                                17:39:04

9         A.    I did check that.                                   17:39:06

10        Q.    So why today did you need to check it again?        17:39:09

11        A.    I like to be careful.                               17:39:11

12        Q.    You like to be careful?                             17:39:12

13        A.    Yeah. I want to be sure we can show the

                         that they matched.                         17:39:19

15        Q.    Did you know when you signed your declaration 17:39:22

16    whether these actually matched every single angle and         17:39:26

17    every single board?                                           17:39:27

18        A.    Yes, I believe I did.                               17:39:28

19        Q.    What do you mean you believe you did?               17:39:31

20        A.    To my recollection, I checked

                                                  And I checked the 17:39:42

22    initial          and knew that they would follow the          17:39:46

23    same pattern so I didn't check every single angle.            17:39:50

24        Q.    How many of these did you actually check            17:39:52

25    yourself before you signed your declaration?                  17:39:55

                                                                 Page 234

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 32 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1         A.      I remember at least checking the initial

                                                                   17:40:04

3         Q.   So you checked about six out of the 64; is          17:40:08

4     that fair?                                                   17:40:09

5         A.   Yeah.                                               17:40:09

6         Q.   And the rest are purely from counsel; you're        17:40:12

7     just relying on them?                                        17:40:14

8         A.   Not exactly.                                        17:40:16

9         Q.   You didn't check.                                   17:40:19

10             How did you know it was accurate?                   17:40:21

11        A.   How would the pattern change?                       17:40:24

12        Q.      I don't know. It's your declaration.             17:40:26

13        A.      I understand. From my understanding, the         17:40:30

14    pattern is consistent in the letters. So once you            17:40:35

15    start the pattern properly, it's going to finish out         17:40:39

16    properly.                                                    17:40:40

17        Q.   Let's go to the next page, page 12.                 17:40:42

18              Who prepared this table?                           17:40:44

19        A.      Counsel for Uber.                                17:40:51

20        Q.   And you had to double check it here at your         17:40:54

21    deposition; you didn't know whether it was accurate          17:40:55

22    when you signed it, did you?                                 17:40:57

23        MR. KIM: Objection; form.                                17:40:58

24        THE WITNESS: I believe I checked that before as          17:41:00

25    well.                                                        17:41:01

                                                                Page 235

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 33 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1              Do you see that?                                    18:13:12

2         A.   Yes.                                                18:13:12

3         Q.   And based on what you talked about with             18:13:14

4     Mr. Kim, Uber's lawyer, it was Mr. Pennecot that             18:13:18

5     imported the data into Zemax; right?                         18:13:21

6         A.   Yes.                                                18:13:22

7         Q.   And it was Mr. Pennecot that then determined        18:13:25

8     the resultant emitting points of the laser diodes;           18:13:29

9     right?                                                       18:13:29

10        A.   Yes.                                                18:13:29

11        Q.   And it was Mr. Pennecot that then exported it 18:13:33

12    into CAD software; right?                                    18:13:36

13        A.   Yes, that's my understanding.                       18:13:38

14        Q.   And so Mr. Pennecot was the one who actually        18:13:42

15    came up with                                                 18:13:47

16    based on Mr. Boehmke's beam angles; isn't that right?        18:13:51

17        A.   No, I don't think so.                               18:13:52

18        Q.   So what Mr. Pennecot exported into CAD              18:13:56

19    software, that wasn't                                    ?   18:14:04

20        A.   So if we go back carefully to transcripts,          18:14:07

21    what I should point out is, since this declaration, I        18:14:11

22    have more detailed information of exactly how                18:14:14

23    Mr. Pennecot did his import. To be accurate, I want          18:14:19

24    to say that there's an error in here that he brought         18:14:25

25    the angles into CAD software, brought the lens design        18:14:31

                                                                Page 262

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 34 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1     and field curvature shape from Zemax into CAD                   18:14:37

2     software.                                                       18:14:37

3                Now you're asking did Mr. Pennecot in fact           18:14:40

4     design the

                           Mr. Pennecot was dependent on              18:14:50

6     somebody else to tell him how many boards the angles            18:14:53

7     had to be divided among, and then Mr. Pennecot set the 18:14:58

8     positions of the laser diodes onto those boards.                18:15:02

9         Q.     Who told Mr. Pennecot to use                         18:15:05

10        A.      I told Mr. Pennecot to use                  in      18:15:09

11    the optical cavity.                                             18:15:10

12        Q.     Who told him to use                  in total?       18:15:13

13        A.      I don't think anybody told him to use

               in total.                                              18:15:18

15        Q.     Who told him to put

                                                                      18:15:22

17        A.     Mr. Pennecot understood the reason we were           18:15:31

18    going to                 so I'll -- with that said, I'm         18:15:35

19    not aware that anybody had to tell him to

                                                                      18:15:41

21        Q.     You don't know where Mr. Pennecot

                  from?                                               18:15:45

23        A.     No, I know exactly where he got it from.             18:15:48

24        Q.     Where did he get it from?                            18:15:49

25        A.     The need to                                          18:15:52

                                                                   Page 263

                               Veritext Legal Solutions
                                    866 299-5127
     Case 3:17-cv-00939-WHA Document 594-1 Filed 06/12/17 Page 35 of 35
              HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY

1     If you're asking do I know from whom, no.           I would say   18:15:57

2     that he could derive that himself.                                18:15:59

3         Q.    Okay.   So -- but just to be clear,                     18:16:04

4     Mr. Pennecot -- you told him

                                               in the SolidWorks        18:16:13

6     CAD software, and you told him 64 channels and he                 18:16:16

7     created                                        is that fair?      18:16:21

8         A.    I didn't necessarily tell him 64 channels.              18:16:24

9     He got the list of angles that Scott Boehmke had                  18:16:28

10    generated.                                                        18:16:29

11        Q.    So he knew that there were 64 channels;                 18:16:31

12    right?                                                            18:16:31

13        A.    Without me telling him.                                 18:16:33

14        Q.    So the sequence of events was there was Scott           18:16:36

15    Boehmke provided beam angles for 64 channels?                     18:16:40

16        A.    Yes.                                                    18:16:40

17        Q.    That went to Mr. Pennecot.        He imported that      18:16:45

18    data into Zemax.   And after he outputted into CAD                18:16:50

19    software, the result was a design with

                                                           is that      18:17:01

21    right?                                                            18:17:02

22        A.    Can you read that back.                                 18:17:04

23              (Record read by reporter as follows:                    18:17:04

24              "Question:   He imported that data into Zemax.          18:17:04

25              And after he outputted into CAD software, the

                                                                     Page 264

                               Veritext Legal Solutions
                                    866 299-5127
